WDINC (Rev. 5/2020) Agreed Order

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA
Case Number: 0419 5:16CR00047-002

Vv.

Kristy Hope Eastridge
Defendant

AGREED ORDER AND JUDGMENT
TO REVOKE SUPERVISED RELEASE

Upon petition of the U.S. Probation Office, joined herein by the United States and the

defendant, to revoke the supervised release of defendant Kristy Hope Eastridge and for good cause

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shown therein, and also based on agreement of the parties as set forth herein:

AGREEMENT OF UNITED STATES AND DEFENDANT

The defendant agrees and stipulates that she has violated the terms and conditions of
supervised release in the following respects:
DRUG/ALCOHOL USE (Date violation concluded: 10/13/2020).The defendant has violated the
condition of supervision that states, "The defendant shall refrain from excessive use of alcohol and
shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath
salts) that impair a person’s physical or mental functioning, whether or not intended for human
consumption, or any paraphernalia related to such substances, except as duly prescribed by a
licensed medical practitioner," in that, Ms. Eastridge tested positive for Methamphetamine on the
following dates: 6/7/2019, 12/19/2019, and 10/ 13/2020, Ms. Hastridge signed a voluntary

admission to Methamphetamine use on the following dates: 5/29/2019, 12/18/2019, 1/2/2020,

1/17/2020, and 8/13/2020. (Grade C)

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The parties stipulate, pursuant to Chapter 7 Policy Statements, U.S. Sentencing Guidelines,
that the defendant’s violation is a maximum Grade C and that the defendant has a Criminal History
Category of II.

The parties stipulate, based on U.S,.S.G, §7B1.4, that the Guidelines range of imprisonment
for a Grade C violation and a Criminal History Category of III is a term of imprisonment from 5
to 11 months.

The parties agree, pursuant to Rules 11(c)(1)(C) and 32.1, Federal Rules of Criminal
Procedure, that the Court should revoke supervised release and order the defendant to be
imprisoned for a period of 5 months. If the Court rejects this sentencing agreement, the defendant
has the right to withdraw from this Agreed Order and have an evidentiary hearing on the petition
for revocation of supervised release.

DEFENDANT’S ACKNOWLEDGMENT AND WAIVER

The defendant acknowledges that she is admitting the violations of supervised release
because she did, in fact, violate the conditions of supervised release set forth above.

The defendant acknowledges that she has had an opportunity 1) to review the written notice
of the alleged violations of supervised release and 2) to review the evidence against her related to
those alleged violations.

The defendant further acknowledges that she is aware of the following rights and is
knowingly waiving these rights in exchange for the agreed sentence: |

1) The opportunity to appear personally, present evidence, and question adverse witnesses

at a revocation hearing; and \ ' '

2) The opportunity to make a statement personally to the Court in mitigation of sentence

and to present mitigating evidence to the Court.

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If the Court accepts the agreed sentence, the defendant knowingly waives the right to
contest the revocation of supervised release and the defendant's sentence in any appeal or post-
conviction action. Claims of (1) ineffective assistance of counsel and (2) prosecutorial
misconduct, and those claims only, are exempt from this waiver.

The defendant acknowledges that the Court may impose conditions of supervised release

different from or in addition to those that were imposed in the original sentencing order.

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AGREED SENTENCE

Upon agreement of the parties as set forth above, it is hereby ORDERED that the
previously imposed period of supervised release is REVOKED.

It is further ORDERED that the defendant Kristy Hope Eastridge be and is hereby
SENTENCED to a term of imprisonment of 5 months on Count | of the judgment.

It is further ORDERED that the defendant be and is hereby ORDERED to serve an
additional term of supervised release of 3 years after being released from the sentence of
imprisonment ordered herein,

It is further ORDERED that during the additional term of supervised release, the defendant

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_ must abide by the following mandatory and standard conditions that have been adopted by this

Court, as well as the following agreed upon special conditions of supervised release:

Mandatory Conditions:

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as determined by the Court, unless the condition of mandatory drug testing
is waived below.

Check if waived: 1 The condition for mandatory drug testing is suspended based on the Court's
determination that the defendant poses a low risk of future substance abuse.

4. Check if applicable: C1 The defendant shall make restitution in accordance with 18 U.S.C. §§
3663 and 3663A or any other statute authorizing a sentence of restitution.

5. The defendant shall cooperate in the collection of DNA as directed by the probation officer
(unless omitted by the Court).

Standard Conditions:

1, The defendant shal! report to the probation office in the federal judicial district where he/she is
authorized to reside within 72 hours of release from imprisonment, unless the probation officer
instructs the defendant to report to a different probation office or within a different time frame.

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, permission to do so by the probation officer.

The defendant shall report to the probation officer in a manner and frequency directed by the
court or probation officer,

The defendant shall not leave the federal judicial district where he/she is authorized to reside
without first getting permission from the Court or probation officer.

The defendant shall answer truthfully the questions asked by the probation officer.

The defendant shall live at a place approved by the probation officer. The probation officer shall
be notified in advance of any change in living arrangements (such as location and the people
with whom the defendant lives).

The defendant shall allow the probation officer to visit him/her at any time at his/her home or
elsewhere, and shall permit the probation officer to take any items prohibited by the conditions
of his/her supervision that the probation officer observes,

The defendant shall work full time (at least 30 hours per week) at lawful employment, unless
excused by the probation officer. The defendant shall notify the probation officer within 72
hours of any change regarding employment.

The defendant shall not communicate or interact with any persons engaged in criminal activity,
and shall not communicate or interact with any person convicted of a felony unless granted

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The defendant shall notify the probation officer within 72 hours of being arrested or questioned
by a law enforcement officer.

The defendant shall not own, possess, or have access to a firearm, ammunition, destructive
device, or dangerous weapon (i.e., anything that was designed, or was modified for, the specific
purpose of causing bodily injury or death to another person such as nunchakus or tasers),

The defendant shall not act or make any agreement with a law enforcement agency to act as a
confidential informant without the permission of the Court.

If the probation officer determines that the defendant poses a risk to another person (including
an organization), the probation officer may require the defendant to notify the person about the
risk, The probation officer may contact the person and make such notifications or confirm that
the defendant has notified the person about the risk.

The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase,
possess, use, distribute or administer any narcotic or controlled substance or any psychoactive
substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s
physical or mental functioning, whether or not intended for human consumption, or any
paraphernalia related to such substances, except as duly prescribed by a licensed medical
practitioner,

The defendant shall participate in a program of testing for substance abuse if directed to do so
by the probation officer. The defendant shall refrain from obstructing or attempting to obstruct
or tamper, in any fashion, with the efficiency and accuracy of the testing. If warranted, the
defendant shall participate in a substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise the defendant’s participation
in the program (including, but not limited to, provider, location, modality, duration, intensity)
(unless omitted by the Court). ’

The defendant shall not go to, or remain at any place where he/she knows controlled substances
are illegally sold, used, distributed, or administered without first obtaining the permission of the
probation officer.

The defendant shall submit his/her person, property, house, residence, vehicle, papers,
computers (as defined in 18 U.S.C. § 1030(e)(1)), or other electronic communications or data

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the original Judgment in a Criminal Case are hereby reimposed and are to be paid in full

immediately, or according to an installment payment plan designated by the U.S. Probation Office

storage devices or media, or office, to a search conducted by a United States Probation Officer
and such other law enforcement personnel as the probation officer may deem advisable, without
a warrant. The defendant shall warn any other occupants that such premises may be subject to
searches pursuant to this condition.

The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as
of the commencement of the sentence of probation or the term of supervised release in
accordance with the schedule of payments of this judgment. The defendant shall notify the court
of any changes in economic circumstances that might affect the ability to pay this financial
obligation.

The defendant shall provide access to any financial information as requested by the probation
officer and shall authorize the release of any financial information. The probation office may
share financial information with the U.S. Attorney’s Office.

The defendant shall not seek any extension of credit (including, but not limited to, credit card
account, bank loan, personal loan) unless authorized to do so in advance by the probation officer.

The defendant shall support all dependents including any dependent child, or any person the
defendant has been court ordered to support.

The defendant shall participate in transitional support services (including cognitive behavioral
treatment programs) and follow the rules and regulations of such program. The probation officer
will supervise the defendant’s participation in the program (including, but not limited to,
provider, location, modality, duration, intensity), Such programs may include group sessions led
by a counselor or participation in a program administered by the probation officer.

The defendant shall follow the instructions of the probation officer related to the conditions of
supervision,

It is further ORDERED that any restitution order, fine, and special assessment imposed in

and approved by the Court.

So ORDERED and ADJUDGED, this the $-Alay of bib COE C4, UW 2

 

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Kenneth D. Bell
US, District Court Judge

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APPROVED

Kristy Hépe Eastridge
Defendant

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Chiege O.,Kalu Okwara Steven Kaufman
Attorney for Defendant Assistant United States Attorney

 

 

R Scott Lunsford Randy McDaniel
Supervisory U.S, Probation Officer U.S. Probation Officer

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